Case
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                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 __________________________________________
 IN RE: COOK MEDICAL, INC, IVC FILTERS
 MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                                   MDL No. 2570
 __________________________________________

 SAMUEL DAWES, Plaintiff
 Civil Case# 1:22-cv-6766-RLY-TAB



                   ORDER GRANTING DISMISSAL WITH PREJUDICE


 The Court has considered the Parties’ Stipulation of Dismissal With Prejudice.

 IT IS ORDERED that the parties’ Stipulation of Dismissal is granted.
 This case, Samuel Dawes v. Cook Incorporated, Cook Medical LLC f/k/a Cook Medical
 Incorporated, and William Cook Europe APS, No. 1:22-cv-6766-RLY-TAB, is hereby dismissed
 with prejudice, but without prejudice as to any claims SAMUEL DAWES may have against any
 and all Defendants in Cause no. 1:21-cv-1004, filed in this MDL.
        Costs of Court shall be taxed against the party incurring same.

       Dated this 12th day of July 2023.



                                      ________________________________________
                                      United States District Judge




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